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          EDWIN ROMERO,
          DENISE WELLINGTON,
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          DAWN M. ALEXANDER,
          ANDREW AMIR,                                                                        SUMMONS
          STANLEY ANDRE,
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          GARY BACCHUS,
          KHEMRAJ BAICHAN,
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          JOSHUA GAYLE,
          PATTI PASQUALE, and
          THOMAS VARUGHESE,

                                                      Plaintiffs,

          On behalf of a class of employees employed with the
          Manhattan and Bronx Surface Transit Operating Authority,
          MTA Headquarters, and Metropolitan Transportation
          Authority,
                                          vs.

          MANHATTAN AND BRONX SURFACE TRANSIT
          OPERATING AUTHORITY, MTA HEADQUARTERS
          a/k/a MTA INFORMATION TECHNOLOGY, and
          METROPOLITAN TRANSPORTATION AUTHORITY,

                                                       Defendants.
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          TO THE ABOVE-NAMED DEFENDANTS:

                  YOU ARE HEREBY SUMMONED to answer the complaint in this action and to serve

          a copy of your answer, or, if the complaint is not served with the summons, to serve a notice of

          appearance on the Plaintiffs’ attorney within 20 days after the service of this summons, exclusive

          of the day of service, and in the case of your failure to appear or answer, judgment will be taken

          against you by default for the relief demanded in the complaint.




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          Dated: New York, New York
                 May 4, 2021


                                                            ADVOCATES FOR JUSTICE
                                                            CHARTERED ATTORNEYS
                                                            Attorneys for Plaintiffs


                                                            By:    /s/ Laine Alida Armstrong
                                                                        Arthur Z. Schwartz
                                                                        Laine Alida Armstrong
                                                                        Richard Soto
                                                            225 Broadway, Suite 1902
                                                            New York, New York 10007
                                                            (212) 285-1400
                                                            aschwartz@afjlaw.com
                                                            laine@advocatesny.com
                                                            rsoto@advocatesny.com



          To:   Manhattan and Bronx Surface Transit Operating Authority
                2 Broadway
                New York, NY 10004

                MTA Headquarters a/k/a MTA Information Technology
                2 Broadway
                New York, NY 10004

                Manhattan Transportation Authority
                2 Broadway
                New York, NY 10004




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                                                      Plaintiffs,

          On behalf of a class of employees employed with the
          Manhattan and Bronx Surface Transit Operating Authority,
          MTA Headquarters, and Metropolitan Transportation
          Authority,
                                          vs.

          MANHATTAN AND BRONX SURFACE TRANSIT
          OPERATING AUTHORITY, MTA HEADQUARTERS
          a/k/a MTA INFORMATION TECHNOLOGY, and
          METROPOLITAN TRANSPORTATION AUTHORITY,

                                                      Defendants.

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                  Plaintiffs by their undersigned attorneys, for their Verified Collective and Class Action

          Complaint against Defendants, allege as follows:

                                                       INTRODUCTION

                  1.       Plaintiffs are current or former employees of subsidiary entities of the defendant

          Metropolitan Transportation Authority (“MTA”): the Manhattan and Bronx Surface Transit

          Operating Authority (“MABSTOA”) and the MTA Headquarters/MTA Information Technology

          (“MTAHQ”). Each is a separate authority or public operation wholly controlled by the MTA



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          with interchangeable operations. None is an exempt employee under Sections 13(a)(1) and /or

          13(a)(17) of the Fair Labor Standards Act (“FLSA”). This lawsuit, which is, in part, an FLSA

          collective action, and, in part, a class action under New York law and various federal and state

          constitutional provisions, seeks to address two issues:

                         a.        the failure to pay overtime after 40 hours of work, as required by the

          FLSA, 29 U.S.C. § 216(b); and

                         b.        the failure on the part of Defendants to compensate their employees at the

          same level as another MTA subsidiary, which has employees doing the same or substantially

          similar work, to wit, the New York City Transit Authority (“NYCTA”), a violation of the Equal

          Protection Clauses of the U.S. Constitution and the New York State Constitution.

                 2.      Plaintiffs seek declaratory relief, lost wages, and all other relief allowed under

          Federal and State law.

                                            JURISDICTION AND VENUE

                  3.     The jurisdiction of this Court is invoked pursuant to Section 7 of Article VI of the

          Constitution of the State of New York

                                           PROCEDURAL BACKGROUND

                 4.      Plaintiffs commenced an action in the United States District Court for the

          Southern District of New York alleging claims against Defendants for violation of the FLSA,

          the Equal Protection Clauses of the Fourteenth Amendment to the United States Constitution and

          the New York State Constitution (Article 1, § 11), as well as other claims (19-cv-0694) (the

          “Federal Action”).

                 5.      Upon Defendants motion, the federal district court dismissed Plaintiffs’ FLSA

          and Equal Protection claims without prejudice. See, 19-cv-0694, Docket No. 67 (Koetl, J.).




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                 6.      By way of gubernatorial executive order (Executive Order 202.67, dated

          October 5, 2020), New York State tolled the Statute of Limitations for the commencement,

          filing, or service of any legal action, notice, motion, or other process or proceeding through

          November 3, 2020.

                 7.      Plaintiffs commence timely commence this action.

                                                      PARTIES

                 8.      Plaintiff Edwin Romero is and has been employed by Defendant MABSTOA as a

          Computer Specialist IV since on or about 2010. Said plaintiff seeks overtime pursuant to the

          FLSA and is a member of the class as defined below.

                 9.      Plaintiff Denise Wellington is and has been employed by Defendant MABSTOA

          as a Computer Associate II since on or about 2009. Said plaintiff seeks overtime pursuant to the

          FLSA and is a member of the class as defined below.

                 10.     Plaintiff Moshin Ahmad is or was employed by Defendant MABSTOA as a

          Telecom Associate (voice) 2 since on or about June 1, 2015. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                 11.     Plaintiff Dawn M. Alexander is or was employed by Defendant MABSTOA as a

          Computer Associate (Oper) III since on or about May 4, 2015. Said plaintiff is a member of the

          class as defined below.

                 12.     Plaintiff Andrew Amir is or was employed by Defendant MABSTOA as an

          Assistant Budget Chief since on or about August 1, 2000. Said plaintiff seeks overtime pursuant

          to the FLSA and is a member of the class as defined below. .

                 13.     Plaintiff Stanley Andre is or was employed by Defendant MABSTOA as a

          Computer Specialist since on or about November 1, 1999. Said plaintiff seeks overtime pursuant

          to the FLSA and is a member of the class as defined below.


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                 14.       Plaintiff Wai Aung is or was employed by Defendant MABSTOA as a Computer

          Associate III since on or about September 11, 2000. Said plaintiff seeks overtime pursuant to the

          FLSA and is a member of the class as defined below.

                 15.       Plaintiff Gary Bacchus is or was employed by Defendant MABSTOA as a

          Telecom Associate III since on or about May 15, 2006. Said plaintiff seeks overtime pursuant to

          the FLSA and is a member of the class as defined below.

                 16.       Plaintiff Khemraj Baichan is or was employed by Defendant MABSTOA as a

          Computer Specialist since on or about March 17, 2008. Said plaintiff seeks overtime pursuant to

          the FLSA and is a member of the class as defined below.

                 17.       Plaintiff Angela Bonnette is or was employed by Defendant MABSTOA as an

          Associate Staff Analyst since on or about May 1, 2000. Said plaintiff seeks overtime pursuant to

          the FLSA and is a member of the class as defined below.

                 18.       Plaintiff David Callison is or was employed by Defendant MABSTOA as a

          Computer Specialist (SW) III since on or about August 12, 2002. Said plaintiff is a member of

          the class as defined below.

                 19.       Plaintiff David Carty is or was employed by Defendant MABSTOA as a

          Computer Specialist since on or about June 23, 2005. Said plaintiff seeks overtime pursuant to

          the FLSA and is a member of the class as defined below.

                 20.       Plaintiff Shaoming Chang is or was employed by Defendant MABSTOA as a

          Computer Specialist since on or about July 4, 2005. Said plaintiff is a member of the class as

          defined below.




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                   21.   Plaintiff Neal Chernakoff is or was employed by Defendant MABSTOA as a

          Telecom Associate III since on or about December 1, 2008. Said plaintiff is a member of the

          class as defined below.

                   22.   Plaintiff Gerard P. Cornet is or was employed by Defendant MABSTOA as a

          Tech. Inf. Eng. Specialist II since on or about November 10, 2008. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                   23.   Plaintiff Johanny Cruz is or was employed by Defendant MABSTOA as a

          Computer Specialist since on or about February 1, 2001. Said plaintiff seeks overtime pursuant

          to the FLSA and is a member of the class as defined below.

                   24.   Plaintiff Lester Cumberbatch is or was employed by Defendant MABSTOA as a

          Telecom Specialist I since on or about October 1, 2014. Said plaintiff seeks overtime pursuant to

          the FLSA and is a member of the class as defined below.

                   25.   Plaintiff Noel Dalal is or was employed by Defendant MABSTOA as a Computer

          Specialist III at all times relevant to this lawsuit. Said plaintiff seeks overtime pursuant to the

          FLSA and is a member of the class as defined below.

                   26.   Plaintiff Howard G. Daley, Jr. is or was employed by Defendant MABSTOA as a

          Tech Infra Eng Sec Lvl 6 (Computer Specialist (SW) III) at all times relevant to this lawsuit.

          Said plaintiff seeks overtime pursuant to the FLSA and is a member of the class as defined

          below.

                   27.   Plaintiff Lester Daniels is or was employed by Defendant MABSTOA as an

          Associate Staff Analyst at all times relevant to this lawsuit. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.




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                 28.       Plaintiff Gary DeSimone is or was employed by Defendant MABSTOA as a

          Computer Specialist II (SW) since on or about 2008 or 2009. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                 29.       Plaintiff Daniel Diaz is or was employed by Defendant MABSTOA as a

          Computer Specialist IV since on or about October 10, 1983. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                 30.       Plaintiff Raymond Dolan is or was employed by Defendant MABSTOA as a

          Telecom Associate III since on or about May 9, 2016. Said plaintiff is a member of the class as

          defined below.

                 31.       Plaintiff Dennis Donovan is or was employed by Defendant MABSTOA as a

          Telecom Specialist since on or about August 1, 2006. Said plaintiff seeks overtime pursuant to

          the FLSA and is a member of the class as defined below.

                 32.       Plaintiff Frank Estes is or was employed by Defendant MABSTOA as a Telecom

          Specialist since on or about January 7, 2007. Said plaintiff seeks overtime pursuant to the FLSA

          and is a member of the class as defined below.

                 33.       Plaintiff Charles M. Frierson is or was employed by Defendant MABSTOA as a

          Computer Specialist I (Software) since on or about July 31, 1989. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                 34.       Plaintiff Robert Gonzalez, Jr. is or was employed by Defendant MABSTOA as a

          Computer Specialist II since on or about March 24, 2008. Said plaintiff seeks overtime pursuant

          to the FLSA and is a member of the class as defined below.




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                 35.     Plaintiff Arkadiy Grimberg is or was employed by Defendant MABSTOA as a

          Tech Infra Eng Sec Lvl 7 since on or about July 14, 2008. Said plaintiff is a member of the class

          as defined below.

                 36.     Plaintiff Edwin Gutierrez is or was employed by Defendant MABSTOA as a

          Computer Associate (Software) III at all times relevant to this lawsuit. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                 37.     Plaintiff Dilwar Hassam is or was employed by Defendant MABSTOA as a

          Computer Specialist IV since on or about April 23, 2001. Said plaintiff is a member of the class

          as defined below.

                 38.     Plaintiff Juan Hernandez is or was employed by Defendant MABSTOA as a

          Computer Specialist (Software) Level II at all times relevant to this lawsuit. Said plaintiff is a

          member of the class as defined below.

                 39.     Plaintiff Owen Hewitt is or was employed by Defendant MABSTOA as a

          Computer Specialist since on or about September 19, 2005. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                 40.     Plaintiff Benjamin James is or was employed by Defendant MABSTOA as a

          Computer Specialist IV since on or about August 23, 1999. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                 41.     Plaintiff Janice Joe is or was employed by Defendant MABSTOA as a Computer

          Specialist IV since on or about June 1, 2014. Said plaintiff seeks overtime pursuant to the FLSA

          and is a member of the class as defined below.




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                 42.       Plaintiff Andrew Jones is or was employed by Defendant MABSTOA as a

          Telecom Associate Data III since on or about November 18, 2013. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                 43.       Plaintiff Gladis Joseph is or was employed by Defendant MABSTOA as a

          Computer Specialist III at all times relevant to this lawsuit. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                 44.       Plaintiff Johnny Jue is or was employed by Defendant MABSTOA as a Computer

          Specialist since on or about July 26, 1982. Said plaintiff seeks overtime pursuant to the FLSA

          and is a member of the class as defined below.

                 45.       Plaintiff Trevor Julian is or was employed by Defendant MABSTOA as an

          Associate Staff Analyst since on or about April 12, 2004. Said plaintiff seeks overtime pursuant

          to the FLSA and is a member of the class as defined below.

                 46.       Plaintiff Alexander Kalika is or was employed by Defendant MABSTOA as a

          Tech Infra Eng Sec Lvl 6 since on or about October 26, 2009. Said plaintiff is a member of the

          class as defined below.

                 47.       Plaintiff Isaac F. Lapinig is or was employed by Defendant MABSTOA as a

          Computer Associate (Operations) III Rep since on or about November 2, 2009. Said plaintiff

          seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                 48.       Plaintiff Gregory Lau is or was employed by Defendant MABSTOA as a Telecom

          Specialist since on or about November 10, 2014. Said plaintiff is a member of the class as

          defined below.




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                 49.    Plaintiff Frederick Laven is or was employed by Defendant MABSTOA as a

          Computer Associate (Operations) II since on or about Fall 2011. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                 50.    Plaintiff Manlung Lee is or was employed by Defendant MABSTOA as a

          Computer Specialist (Software) Level IV since on or about June 1, 2006. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                 51.    Plaintiff Pamela Lee is or was employed by Defendant MABSTOA as a

          Computer Specialist IV since on or about April 1, 2013. Said plaintiff seeks overtime pursuant

          to the FLSA and is a member of the class as defined below.

                 52.    Plaintiff Basim Louis is or was employed by Defendant MABSTOA as a

          Computer Associate since on or about October 26, 2009. Said plaintiff seeks overtime pursuant

          to the FLSA and is a member of the class as defined below.

                 53.    Plaintiff Anvaer Ludmila is or was employed by Defendant MABSTOA as a

          Computer Specialist Operations since on or about June 24, 2013. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                 54.    Plaintiff Jin Qiang Luo is or was employed by Defendant MABSTOA as a

          Computer Specialist III since on or about October 4, 1999. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                 55.    Plaintiff Carl Magno is or was employed by Defendant MABSTOA as an

          Associate Staff Analyst since on or about October 1, 2007. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.




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                 56.     Plaintiff Alexander Martin is or was employed by Defendant MABSTOA as a

          Computer Specialist I at all times relevant to this lawsuit. Said plaintiff does not seek overtime

          compensation in this matter and sues only as a member of Class Two.

                 57.     Plaintiff Alexander J. Matlosz is or was employed by Defendant MABSTOA as a

          Computer Specialist IV since on or about July 5, 2005. Said plaintiff seeks overtime pursuant to

          the FLSA and is a member of the class as defined below.

                 58.     Plaintiff Roderick McKrieth is or was employed by Defendant MABSTOA as a

          Computer Specialist IV at all times relevant to this lawsuit. Said plaintiff is a member of the

          class as defined below.

                 59.     Plaintiff T. Milerson is or was employed by Defendant MABSTOA as a Staff

          Analyst II since on or about June 30, 2005. Said plaintiff seeks overtime pursuant to the FLSA

          and is a member of the class as defined below.

                 60.     Plaintiff Wajhee Mohammed is or was employed by Defendant MABSTOA as a

          Computer Specialist III since on or about February 8, 2010. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                 61.     Plaintiff Todd J. Nelson is or was employed by Defendant MABSTOA as a

          Computer Associate (SW) II since on or about January 1, 2013. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                 62.     Plaintiff Gino J. Orologio is or was employed by Defendant MABSTOA as a

          Computer Specialist III since on or about August 1, 2016. Said plaintiff seeks overtime pursuant

          to the FLSA and is a member of the class as defined below.




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                 63.     Plaintiff Oswaldo Palomino is or was employed by Defendant MABSTOA as a

          Computer Associate III since on or about June 1, 1998. Said plaintiff seeks overtime pursuant to

          the FLSA and is a member of the class as defined below.

                 64.     Plaintiff Natasha Parris is or was employed by Defendant MABSTOA as a

          Computer Specialist since on or about September 1, 2016. Said plaintiff seeks overtime pursuant

          to the FLSA and is a member of the class as defined below.

                 65.     Plaintiff Jayson Payne is or was employed by Defendant MABSTOA as a

          Telecom Associate III since on or about July 23, 2007. Said plaintiff seeks overtime pursuant to

          the FLSA and is a member of the class as defined below.

                 66.     Plaintiff Michael Quinn is or was employed by Defendant MABSTOA as a

          Computer Specialist (SW) II at all times relevant to this lawsuit. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                 67.     Plaintiff Beverlyn Richards is or was employed by Defendant MABSTOA as a

          Computer Associate III at all times relevant to this lawsuit. Said plaintiff is a member of the

          class as defined below.

                 68.     Plaintiff Jeanette Rivera is or was employed by Defendant MABSTOA as a

          Computer Associate III since on or about September 1, 1997. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                 69.     Plaintiff Sophia Roberts is or was employed by Defendant MABSTOA as a

          Computer Associate since on or about June 30, 2005. Said plaintiff seeks overtime pursuant to

          the FLSA and is a member of the class as defined below.




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                 70.     Plaintiff Gerard Max Roger is or was employed by Defendant MABSTOA as a

          Computer Specialist II since on or about December 20, 2013. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                 71.     Plaintiff Paul Romano is or was employed by Defendant MABSTOA as a Telcom

          Associate since on or about December 20, 2015. Said plaintiff seeks overtime pursuant to the

          FLSA and is a member of the class as defined below.

                 72.     Plaintiff Norman Rubi is or was employed by Defendant MABSTOA as a

          Computer Specialist IV since on or about August 1, 2001. Said plaintiff seeks overtime pursuant

          to the FLSA and is a member of the class as defined below.

                 73.     Plaintiff Terrance Russell is or was employed by Defendant MABSTOA as a

          Telecom Specialist since on or about January 22, 2007. Said plaintiff seeks overtime pursuant to

          the FLSA and is a member of the class as defined below.

                 74.     Plaintiff Jose Antonio Santiago is or was employed by Defendant MABSTOA as

          a Computer Associate Tech Support II since on or about August 20, 2001. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                 75.     Plaintiff Donavon Simonette is or was employed by Defendant MABSTOA as a

          MTAIT Support at all times relevant to this lawsuit. Said plaintiff seeks overtime pursuant to the

          FLSA and is a member of the class as defined below.

                 76.     Plaintiff Mahadeo Singh is or was employed by Defendant MABSTOA as a

          Telecom Specialist since on or about December 1, 2014. Said plaintiff seeks overtime pursuant

          to the FLSA and is a member of the class as defined below.




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                 77.    Plaintiff John Stantyos is or was employed by Defendant MABSTOA as a

          Computer Specialist (SW) IV (Tech Infra Eng Sec Lvl 5) since on or about July 1, 2015. Said

          plaintiff seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                 78.    Plaintiff Dorian Stewart is or was employed by Defendant MABSTOA as a

          Computer Associate III since on or about November 16, 1998. Said plaintiff does not seek

          overtime compensation in this matter and sues only as a member of Class Two.

                 79.    Plaintiff Yolanda Tabb is or was employed by Defendant MABSTOA as an

          Associate Staff Analyst since on or about June 28, 2005. Said plaintiff seeks overtime pursuant

          to the FLSA and is a member of the class as defined below.

                 80.    Plaintiff Guy Taieb is or was employed by Defendant MABSTOA as a Computer

          Associate (SW) I since on or about November 1, 1993. Said plaintiff seeks overtime pursuant to

          the FLSA and is a member of the class as defined below.

                 81.    Plaintiff Donna Thompson is or was employed by Defendant MABSTOA as a

          Computer Specialist (SW) III since on or about June 22, 2005. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                 82.    Plaintiff Dexter H. Tyrrell is or was employed by Defendant MABSTOA as a

          Computer Specialist III since on or about December 30, 2008. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                 83.    Plaintiff Wendy Tzuo is or was employed by Defendant MABSTOA as a

          Computer Specialist III since on or about August 1, 1998. Said plaintiff seeks overtime pursuant

          to the FLSA and is a member of the class as defined below.




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                 84.     Plaintiff Theara Washington is or was employed by Defendant MABSTOA as a

          Pick Support Rep, C.A. III since on or about October 1, 2004. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                 85.     Plaintiff Veronderlette Whitfield is or was employed by Defendant MABSTOA as

          a Computer Specialist III since on or about July 5, 2005. Said plaintiff seeks overtime pursuant

          to the FLSA and is a member of the class as defined below.

                 86.     Plaintiff Jithendra J. Yogarasa is or was employed by Defendant MABSTOA as a

          Telecom Specialist II (Data) since on or about April 18, 2016. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                 87.     Plaintiff Sukkyun Yoon is or was employed by Defendant MABSTOA as a

          Computer Specialist IV since on or about February 1, 2008. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                 88.     Plaintiff Jiasi Zhu is or was employed by Defendant MABSTOA as a Computer

          Specialist IV since on or about September 26, 2017. Said plaintiff seeks overtime pursuant to the

          FLSA and is a member of the class as defined below.

                 89.     Plaintiff Irene Thomas is or was employed by Defendant MABSTOA as a Staff

          Analyst since on or about June 27, 2005. Said plaintiff seeks overtime pursuant to the FLSA and

          is a member of the class as defined below.

                 90.     Plaintiff Ruchita Acharya is or at all relevant times was employed by Defendant

          MABSTOA as an Associate Staff Analyst. Said plaintiff seeks overtime pursuant to the FLSA

          and is a member of the class as defined below.




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                 91.    Plaintiff Yvette Anderson is or at all relevant times was employed by Defendant

          MABSTOA as an Associate Staff Analyst. Said plaintiff seeks overtime pursuant to the FLSA

          and is a member of the class as defined below.

                 92.    Plaintiff Darleen Bell is or at all relevant times was employed by Defendant

          MABSTOA as a Staff Analyst II. Said plaintiff seeks overtime pursuant to the FLSA and is a

          member of the class as defined below.

                 93.    Plaintiff Joanne Broome is or at all relevant times was employed by Defendant

          MABSTOA as a Staff Analyst Trainee. Said plaintiff seeks overtime pursuant to the FLSA and

          is a member of the class as defined below.

                 94.    Plaintiff Aminata Charles is or at all relevant times was employed by Defendant

          MABSTOA as a Staff Analyst Trainee. Said plaintiff seeks overtime pursuant to the FLSA and

          is a member of the class as defined below.

                 95.    Plaintiff Loren Chauhan is or at all relevant times was employed by Defendant

          MABSTOA as an Associate Trans. Management Analyst. Said plaintiff seeks overtime pursuant

          to the FLSA and is a member of the class as defined below.

                 96.    Plaintiff Ahmed Albarbary is or at all relevant times was employed by Defendant

          MABSTOA as an Associate Project Manager since on or about May 2012. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                 97.    Plaintiff Cathryn Alvarado is or at all relevant times was employed by Defendant

          MABSTOA as an Associate Staff Analyst since on or about December 1, 2015. Said plaintiff

          seeks overtime pursuant to the FLSA and is a member of the class as defined below.




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                 98.    Plaintiff John Badalamenti is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Assoc tech srv level 2 since on or about March 3, 2014. Said

          plaintiff seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                 99.    Plaintiff Michael Badalov is or at all relevant times was employed by Defendant

          MABSTOA as a Staff Analyst II since on or about October 29, 2018. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                 100.   Plaintiff Henry Bartels is or at all relevant times was employed by Defendant

          MABSTOA as a Telecom Assoc Data III since on or about May 16, 2016. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                 101.   Plaintiff Dwayne Bembry is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Specialist 1 (SW) since on or about September 30, 2016. Said

          plaintiff seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                 102.   Plaintiff Michael Benson is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Associate (SW) III Rep since on or about August 1, 2010. Said

          plaintiff seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                 103.   Plaintiff Alex Bhuggoo is or at all relevant times was employed by Defendant

          MABSTOA as a Staff Analyst II since on or about September 1, 2013. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                 104.   Plaintiff Cynthia Bonner is or at all relevant times was employed by Defendant

          MABSTOA as an Associate Staff Analyst since on or about September 29, 2013. Said plaintiff

          seeks overtime pursuant to the FLSA and is a member of the class as defined below.




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                 105.   Plaintiff Tanya Brand-Jones is or at all relevant times was employed by

          Defendant MABSTOA as an Associate Transit Customer Service Specialist II. Said plaintiff is a

          member of the class as defined below.

                 106.   Plaintiff Angela Brown is or at all relevant times was employed by Defendant

          MABSTOA as an Associate Staff Analyst (oa) since on or about October 1, 2005. Said plaintiff

          seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                 107.   Plaintiff Shari S. Brown is or at all relevant times was employed by Defendant

          MABSTOA as a Staff Analyst II since on or about July 11, 2016. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                 108.   Plaintiff Thomas K. Brown is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Specialist 2 (SW) since on or about March 17, 2017. Said plaintiff

          seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                 109.   Plaintiff Alston Browne is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Specialist (Operations) since on or about July 28, 2008. Said

          plaintiff seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                 110.   Plaintiff Vincent Campbell is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Specialist (SW) 4 Rep since on or about 1996. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                 111.   Plaintiff Gerald Catalanotto is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Specialist III (SW) since on or about September 26, 2005. Said

          plaintiff seeks overtime pursuant to the FLSA and is a member of the class as defined below.




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                 112.   Plaintiff Nithima Chakkrijratana is or at all relevant times was employed by

          Defendant MABSTOA as a Staff Analyst I since on or about May 6, 2018. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                 113.   Plaintiff James T. Chan is or at all relevant times was employed by Defendant

          MABSTOA as an Asst. Budget Chief since on or about July 17, 2002. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                 114.   Plaintiff Frieda A. Colson-Sykes is or at all relevant times was employed by

          Defendant MABSTOA as a Senior Training Development Specialist (STOS) since on or about

          October 1, 2007. Said plaintiff seeks overtime pursuant to the FLSA and is a member of the

          class as defined below.

                 115.   Plaintiff John Wrolf Courtney is or at all relevant times was employed by

          Defendant MABSTOA as a Computer Specialist since on or about September 6, 2005. Said

          plaintiff seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                 116.   Plaintiff Andrea Covelli is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Associate (TS) III since on or about January 22, 2008. Said plaintiff

          seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                 117.   Plaintiff Ada Iris Cuevas is or at all relevant times was employed by Defendant

          MABSTOA as an Associate Transit Customer Service Specialist I. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                 118.   Plaintiff Edward Elfie is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Specialist IV since on or about March 25, 2013. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.




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                 119.    Plaintiff Richard C. Fallucci is or at all relevant times was employed by

          Defendant MABSTOA as a Computer Associate II since on or about 2006. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                 120.    Plaintiff Joey Fong is or at all relevant times was employed by Defendant

          MABSTOA as a Transit Management Analyst Trainee since on or about July 3, 2017. Said

          plaintiff seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                 121.    Plaintiff Asuncion Francisco is or at all relevant times was employed by

          Defendant MABSTOA as a Computer Specialist II since on or about August 8, 2005. Said

          plaintiff is a member of the class as defined below.

                 122.    Plaintiff Dominick Franzese is or at all relevant times was employed by

          Defendant MABSTOA as an ASA since on or about December 10, 2012. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                 123.    Plaintiff Wilfrido A. Garcia is or at all relevant times was employed by Defendant

          MABSTOA as a Telecom Associate III since on or about October 3, 2016. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                 124.    Plaintiff Alexis Giang is or at all relevant times was employed by Defendant

          MABSTOA as an Associate Staff Analyst since on or about July 5, 2005. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                 125.    Plaintiff Peter Giang is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Specialist II since on or about 2016. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.




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                 126.      Plaintiff Maya Ginelli is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Assoc III (OP) since on or about July 2015. Said plaintiff is a

          member of the class as defined below.

                 127.      Plaintiff Darien Goodwin is or at all relevant times was employed by Defendant

          MABSTOA as an Associate Transit Customer Service Specialist II since on or about October 30,

          2013. Said plaintiff seeks overtime pursuant to the FLSA and is a member of the class as

          defined below.

                 128.      Plaintiff Joanne Gray is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Specialist (SW) 3 Rep at all times relevant to the lawsuit. Said

          plaintiff seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                 129.      Plaintiff Angela Greenidge is or at all relevant times was employed by Defendant

          MABSTOA as an ASA since on or about September 1, 2017. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                 130.      Plaintiff Renee Griffith is or at all relevant times was employed by Defendant

          MABSTOA as an Associate Transit Customer Service Specialist II. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                 131.      Plaintiff Rada Gushterova is or at all relevant times was employed by Defendant

          MABSTOA as a Staff Analyst I at all times relevant to the lawsuit. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                 132.      Plaintiff Tracey Henderson is or at all relevant times was employed by Defendant

          MABSTOA as an Associate Transit Customer Service Specialist I. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.




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                 133.   Plaintiff Marlon A. Holder is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Specialist (SW) 2 Rep since on or about March 6, 2017. Said

          plaintiff seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                 134.   Plaintiff Luan Huynh is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Specialist since on or about October 1, 2008. Said plaintiff is a

          member of the class as defined below.

                 135.   Plaintiff Steven Iangiro is or at all relevant times was employed by Defendant

          MABSTOA as an Associate Staff Analyst since on or about July 15, 2015. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                 136.   Plaintiff Jocelyn James is or at all relevant times was employed by Defendant

          MABSTOA as a Staff Analyst II since on or about November 11, 2015. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                 137.   Plaintiff Malaika James is or at all relevant times was employed by Defendant

          MABSTOA as an Associate Transit Management Analyst since on or about April 16, 2016. Said

          plaintiff seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                 138.   Plaintiff Joseph A. Kerins is or at all relevant times was employed by Defendant

          MABSTOA as an Associate Staff Analyst since on or about November 1, 2010. Said plaintiff

          seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                 139.   Plaintiff Narcisse Kone is or at all relevant times was employed by Defendant

          MABSTOA as a Supervising Bookbinder since on or about July 22, 2007. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.




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                   140.   Plaintiff Alexander Koshy is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Specialist (SW) 4 Rep since on or about June 16, 1987. Said

          plaintiff seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                   141.   Plaintiff Roberta Leftenant is or at all relevant times was employed by Defendant

          MABSTOA as an Associate Transit Customer Ser Specialist II since on or about May 19, 2014.

          Said plaintiff seeks overtime pursuant to the FLSA and is a member of the class as defined

          below.

                   142.   Plaintiff Steven Leonard is or at all relevant times was employed by Defendant

          MABSTOA as an Associate Transit CC Specialist since on or about August 13, 2013. Said

          plaintiff seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                   143.   Plaintiff Hung Y. Leong is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Specialist III since on or about March 31, 1997. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                   144.   Plaintiff Bronis Levin is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Associate (SW) II since on or about June 8, 2009. Said plaintiff

          seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                   145.   Plaintiff Stella Levin is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Specialist (SW) II since on or about 2009. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                   146.   Plaintiff Maryelby Lopez is or at all relevant times was employed by Defendant

          MABSTOA as a Staff Analyst I since on or about July 31, 2017. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.




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                 147.   Plaintiff Basim Louis is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Associate since on or about October 26, 2009. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                 148.   Plaintiff Filip Luks is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Specialist IV since on or about October 1, 2006. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                 149.   Plaintiff Samuel Martinez is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Specialist since on or about 2015. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                 150.   Plaintiff Betrice McNeill-Kane is or at all relevant times was employed by

          Defendant MABSTOA as an Associate Staff Analyst since on or about November 9, 2009. Said

          plaintiff seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                 151.   Plaintiff Johnny Miles is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Specialist (SW) II at all times relevant to this lawsuit. Said plaintiff

          seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                 152.   Plaintiff Minette R. Millington is or at all relevant times was employed by

          Defendant MABSTOA as an Associate Staff Analyst since on or about October 31, 2016. Said

          plaintiff seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                 153.   Plaintiff Dian U. Moore is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Associate III since on or about 2006. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.




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                   154.    Plaintiff Betty Parrilla is or at all relevant times was employed by Defendant

          MABSTOA as a Senior Adminstrative Assistant since on or about October 20, 2014. Said

          plaintiff seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                   155.    Plaintiff Oliver Paulino-Hernandez is or at all relevant times was employed by

          Defendant MABSTOA as an Assistant Transit Management Analyst I since on or about August

          15, 2015. Said plaintiff seeks overtime pursuant to the FLSA and is a member of the class as

          defined below.

                   156.    Plaintiff Katy L. Perez is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Associate (Operations) I Rep since on or about 2002. Said plaintiff

          seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                   157.    Plaintiff Ronald Persaud is or at all relevant times was employed by Defendant

          MABSTOA as a PO II since on or about April 19, 1994. Said plaintiff seeks overtime pursuant

          to the FLSA and is a member of the class as defined below.

                   158.    Plaintiff Natasha Peterson is or at all relevant times was employed by Defendant

          MABSTOA as an Associate Staff Analyst since on or about January 1, 2018. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                   159.    Plaintiff John Pisicchio is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Associate (TS) III since on or about February 12, 1996. Said

          plaintiff seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                   160.    Plaintiff Dannette J. Plato is or at all relevant times was employed by Defendant

          MABSTOA as an Associate Transit Customer Ser Specialist II since on or about May 1, 2018.

          Said plaintiff seeks overtime pursuant to the FLSA and is a member of the class as defined

          below.




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                 161.   Plaintiff Jefferson Pun is or at all relevant times was employed by Defendant

          MABSTOA as a Staff Analyst II since on or about December 23, 2013. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                 162.   Plaintiff Johnny Quon is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Specialist IV (SW) at all times relevant to this lawsuit. Said plaintiff

          seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                 163.   Plaintiff Paul Ramos is or at all relevant times was employed by Defendant

          MABSTOA as an Admin Assistant since on or about September 12, 2011. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                 164.   Plaintiff Angela Ramsey is or at all relevant times was employed by Defendant

          MABSTOA as an Associate Staff Analyst since on or about April 13, 1998. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                 165.   Plaintiff Valerie Richardson is or at all relevant times was employed by

          Defendant MABSTOA as a Computer Associate III (OA) since on or about July 1, 2015. Said

          plaintiff seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                 166.   Plaintiff Dion Rodriguez is or at all relevant times was employed by Defendant

          MABSTOA as an Associate Transit Management Analyst (Code Compliance) since on or about

          April 7, 2014. Said plaintiff seeks overtime pursuant to the FLSA and is a member of the class

          as defined below.

                 167.   Plaintiff Magda Rodriguez is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Specialist I since on or about 2012. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.




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                   168.    Plaintiff James Sanon is or at all relevant times was employed by Defendant

          MABSTOA as a Senior Training Development Specialist Level III since on or about September

          2017. Said plaintiff seeks overtime pursuant to the FLSA and is a member of the class as

          defined below.

                   169.    Plaintiff Kamalendu Sarkar is or at all relevant times was employed by Defendant

          MABSTOA as a PO III since on or about June 8, 1986. Said plaintiff seeks overtime pursuant to

          the FLSA and is a member of the class as defined below.

                   170.    Plaintiff Louis Sausa is or at all relevant times was employed by Defendant

          MABSTOA as a Telecom Associate (Voice) III OA Rep since on or about December 15, 2008.

          Said plaintiff seeks overtime pursuant to the FLSA and is a member of the class as defined

          below.

                   171.    Plaintiff Venus Savery is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Associate since on or about April 19, 1999. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                   172.    Plaintiff John A. Scarpantonio is or at all relevant times was employed by

          Defendant MABSTOA as a Computer Specialist (SW) IV since on or about August 1, 1994.

          Said plaintiff seeks overtime pursuant to the FLSA and is a member of the class as defined

          below.

                   173.    Plaintiff Timur Shakhidov is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Associate II since on or about March 23, 2018. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.




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                   174.   Plaintiff Dale Shaw is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Specialist II at all times relevant to this lawsuit. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                   175.   Plaintiff James Sit is or at all relevant times was employed by Defendant

          MABSTOA as a Staff Analyst II since on or about February 5, 2001. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                   176.   Plaintiff Christopher M. Sterbenz is or at all relevant times was employed by

          Defendant MABSTOA as an Associate Transit Customer Service Specialist I since on or about

          December 26, 2016. Said plaintiff seeks overtime pursuant to the FLSA and is a member of the

          class as defined below.

                   177.   Plaintiff Rosalee Stoddart is or at all relevant times was employed by Defendant

          MABSTOA as an Associate Staff Analyst since on or about 2007. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                   178.   Plaintiff Cynthia Stokes-Hernandez is or at all relevant times was employed by

          Defendant MABSTOA as an Associate Staff Analyst since on or about November 17, 1997.

          Said plaintiff seeks overtime pursuant to the FLSA and is a member of the class as defined

          below.

                   179.   Plaintiff Ada Tang is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Specialist III (SW) since on or about July 1, 1998. Said plaintiff

          seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                   180.   Plaintiff Franklin Tang is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Specialist III since on or about December 3, 1985. Said plaintiff

          seeks overtime pursuant to the FLSA and is a member of the class as defined below.




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                 181.   Plaintiff Cathy M. Thomas is or at all relevant times was employed by Defendant

          MABSTOA as an Associate Staff Analyst since on or about 2005. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                 182.   Plaintiff Kenny Hon Too is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Specialist at all times relevant to this lawsuit. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                 183.   Plaintiff Dexter Tyrell is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Specialist since on or about March 24, 2008. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                 184.   Plaintiff Konrad Waluszko is or at all relevant times was employed by Defendant

          MABSTOA as an Associate Staff Analyst since on or about December 3, 2007. Said plaintiff

          seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                 185.   Plaintiff Karen Watson is or at all relevant times was employed by Defendant

          MABSTOA as an ATCSS I since on or about October 1, 2014. Said plaintiff is a member of the

          class as defined below.

                 186.   Plaintiff Carol Williams is or at all relevant times was employed by Defendant

          MABSTOA as a Staff Analyst II since on or about March 9, 2015. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                 187.   Plaintiff Linda Williams is or at all relevant times was employed by Defendant

          MABSTOA as a Staff Analyst II since on or about August 2, 1999. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.




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                 188.      Plaintiff Chuk Bo Wong is or at all relevant times was employed by Defendant

          MABSTOA as an Associate Staff Analyst since on or about January 1, 2011. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                 189.      Plaintiff Yuk Ling Wong is or at all relevant times was employed by Defendant

          MABSTOA as a Standard Enforcement and Claims Analyst since on or about November 20,

          2014. Said plaintiff seeks overtime pursuant to the FLSA and is a member of the class as

          defined below.

                 190.      Plaintiff Xiaomeng Wu is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Specialist II (SW) since on or about November 14, 2016. Said

          plaintiff seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                 191.      Plaintiff Michelle Yorke is or at all relevant times was employed by Defendant

          MABSTOA as an Associate Transit Customer Service Specialist II since on or about May 15,

          2015. Said plaintiff seeks overtime pursuant to the FLSA and is a member of the class as

          defined below.

                 192.      Plaintiff Anna Koziy is or at all relevant times was employed by Defendant

          MTAHQ as a Computer Associate III since on or about September 10, 2001. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                 193.      Plaintiff Neville Lewin is or at all relevant times was employed by Defendant

          MTAHQ as a Computer Associate (TS) I since on or about September 6, 2016. Said plaintiff

          seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                 194.      Plaintiff Janet Parsons is or at all relevant times was employed by Defendant

          MTAHQ as a Computer Specialist since on or about March 27, 2000. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.




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                 195.    Plaintiff Fione Robe is or was employed by Defendant MTAHQ as a Computer

          Specialist (SW) II at all times relevant to this lawsuit. Said plaintiff seeks overtime pursuant to

          the FLSA and is a member of the class as defined below.

                 196.    Plaintiff John Sciotto is or at all relevant times was employed by Defendant

          MTAHQ as a Technical Infrastructure Engineer Specialist-Level 4. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                 197.    Robert Feldman is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Specialist III since on or about March 27, 2000. Said plaintiff seeks

          overtime pursuant to the FLSA and is a member of the class as defined below.

                 198.    Rodney Gaines is or at all relevant times was employed by Defendant

          MABSTOA as a Telecom Associate Data II since on or about March 27, 2000. Said plaintiff

          seeks overtime pursuant to the FLSA and is a member of the class as defined below.

                 199.    Joshua Gayle is or at all relevant times was employed by Defendant MABSTOA

          as a Staff Analyst since on or about March 27, 2000. Said plaintiff seeks overtime pursuant to

          the FLSA and is a member of the class as defined below.

                 200.    Patti Pasquale is or at all relevant times was employed by Defendant MABSTOA

          as a Computer Specialist IV since on or about March 27, 2000. Said plaintiff seeks overtime

          pursuant to the FLSA and is a member of the class as defined below.

                 201.    Thomas Varughese is or at all relevant times was employed by Defendant

          MABSTOA as a Computer Specialist II (SW). Said plaintiff seeks overtime pursuant to the

          FLSA and is a member of the class as defined below.




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                 202.   All Plaintiffs are/were “employees” within the meaning of Section 3(e)(1) of the

          FLSA, 29 U.S.C. § 203(e)(1). All Plaintiffs have consented to becoming plaintiffs in the FLSA

          collective action. See Exhibit A.

                 203.   Plaintiffs bring this action on behalf of themselves and all other similarly situated

          employees who work or have worked for Defendant at all times material herein.

                 204.   Defendant MABSTOA is a New York State public authority established in 1962

          under the Public Authorities Law. It was created to take over the bus services of two bankrupt

          private companies in the Bronx and Manhattan, and to employ bus operators and mechanics.

          Over the last 20 years, as part of an unlawful scheme to avoid the Civil Service Law Sections 40-

          55 and 70-81 and the New York State Retirement and Social Security Law, and various union

          contracts, Defendants began hiring employees in computer-related and analyst positions, and had

          those employees work on NYCTA matters, but assigned them to Defendant MABSTOA as their

          employer. In all but the most limited ways, MABSTOA is wholly merged with the NYCTA.

          MABSTOA is a public agency amenable to suit under the FLSA (see 29 U.S.C. § 203(x)). It is

          headquartered at 2 Broadway, New York, New York 10004.

                 205.   Defendant MTA Headquarters is a public benefit corporation, is either a wholly

          owned subsidiary of the MTA, or a name by which the MTA does business created to handle

          various administrative functions of the MTA. MTAHQ is a public agency amenable to suit

          under the FLSA (see 29 U.S.C. § 203(x)). Its principal office is located at 2 Broadway, New

          York, New York 10004.

                 206.   Defendant MTA is a New York State Authority created to coordinate

          transportation needs throughout New York State. Its principal office is located at 2 Broadway,

          New York, New York 10004. Its subsidiaries include NYCTA, MABSTOA, and MTAHQ.




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                                    COLLECTIVE ACTION ALLEGATIONS

                 207.    The proposed collection class includes all employees in Plaintiffs’ titles, and

          related titles, who worked for a Defendant during the three years prior to the filing of this

          lawsuit, who worked in excess of 40 hours per week, and who were not paid overtime at a rate of

          one and one-half times their regular hourly rate of pay, who have not previously joined the action

          titled Brack v. MTA NYC Transit Authority.

                                         CLASS ACTION ALLEGATIONS

                 208.    Plaintiffs bring their Federal Equal Protection and state law constitutional causes

          of action on behalf of a class of similarly situated employees, to wit:

                         a.      Employees of MABSTOA and MTAHQ who were paid less than

          employees of NYCTA and who at some time during the six years before the Federal Complaint

          was filed performed substantially the same work, in similar working conditions, involving the

          same level of skill and experience.

                 209.    A class action is appropriate because:

                         a.      each class is so numerous that joinder of all members is impracticable;

                         b.      there are questions of law or fact common to each class;

                         c.      the claims or defenses of the representative parties are typical of the

          claims or defenses of each class;

                         d.      the representative parties will fairly and adequately protect the interests of

          each class;

                         e.      inconsistent or varying adjudications with respect to individual members of

          the class would establish incompatible standards of conduct for the parties opposing each class;




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                         f.       adjudications with respect to individual members of each class would as a

          practical matter be dispositive of the interests of the other members not parties to the

          adjudications or substantially impair or impede their ability to protect their interests; and

                         g.       the parties opposing each class have acted or refused to act on grounds

          generally applicable to the class, thereby making appropriate final injunctive relief or

          corresponding declaratory relief with respect to each class as a whole.

                                      FACTS RELEVANT TO ALL CLAIMS

          OVERTIME

                 210.    Plaintiffs at all times material herein, have been employed by either MABSTOA

          or MTAHQ in the position noted in paragraphs 8–201, above.

                 211.    Within the three years prior to filing of the Federal Action and continuing to date,

          while working in a position on behalf of one or more of the Defendants, each Plaintiff’s job

          duties have included work not exempt from the requirements of either FLSA Section 13(a)(1) or

          13(a)(17), the Computer-Related Occupation Exemption. These duties have included:

                         a.       administering, supporting, and maintaining software-based computer

          instrumentation systems (Computer Specialist II).

                         b.       installing and performing minor repairs to software, hardware, and

          peripheral equipment (Computer Specialist II).

                         c.       monitoring the NYC Transit Sonet/ATM network for alarms and outages

          (Telecom Assoc. III).

                         d.       working as a system administrator and analyzing/troubleshooting software

          and hardware problems, coding (Computer Specialist III).

                         e.       data gathering and validation, field installation, support for new systems,

          reviewing/overseeing and/or executing test procedures (Computer Specialist I).


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                            f.     administering and maintaining applications, databases, and security

          (Computer Specialist II).

                            g.     management of the installation, inspection, and close-out of the help-point

          system for all 472 NYC Transit stations (Telecommunications Specialist).

                            h.     providing technical support for NAS systems-related matters and ongoing

          maintenance support, troubleshooting, and management of HP and NetApp storage provisioning

          (Tech Infra Engineering Sec. Level 6 and Level 7).

                            i.     providing tech support for the NYCTA Network Operations Command

          Center (Computer Associate Tech Support II).

                            j.     providing on-call support for all MTA agencies’ IT (Computer Specialist 3).

                            k.     configuring and troubleshooting Border Router, McAfee Intrushield, and

          Network Access Control (Computer Specialist).

                            l.     supporting VHF Radio Upgrade, analyzing and installing equipment

          involved in Beacon Train Arrival System, coordinating and installing cable

          (Telecommunications Associate Data 3).

                            m.     reviewing and manipulating data and creating databases (Associate Staff

          Analyst, Staff Analyst, Staff Analyst Trainee I and II).

                            n.     supervising Transit Customer Service Specialists who provide travel

          information and resolve passenger complaints (Associate Transit Customer Service Specialist I

          and II).

                     212.   During numerous weeks within the three years prior to filing of the Federal

          Action, Plaintiffs, and all others similarly situated, have been required to work, during various

          weeks, in excess of 40 hours per week. These requirements have involved working more than




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          eight hours in a given day during a five-day week, or a requirement that they work on a weekend

          or on a day scheduled as an off day.

                 213.     During the weeks that Plaintiffs, and all others similarly situated, have been

          scheduled to work 40 or more hours, and have actually worked more than 40 hours in that work

          week (“overtime”), Defendants have paid Plaintiffs, and all others similarly situated, straight time

          for all hours worked in excess of 40 during the workweek, instead of at a rate of time and a half.

                 214.     For example, Plaintiff Romero was required to work overtime of approximately an

          additional twelve (12) hours over 40 hours the week of November 26, 2016 but Defendants paid

          Plaintiff Romero straight time for those hours and did not properly compensate him at a premium

          rate. Plaintiff Romero was also required to work overtime of approximately eleven (11) hours the

          week December 3, 2016, approximately twelve (12) hours the week of November 12, 2016,

          approximately nine (9) hours the week of November 5, 2016. Defendants compensated Plaintiff

          Romero at a rate of straight time and not at a premium for those overtime hours worked.

                 215.     Similarly, Plaintiff Wellington was required to work over 40 hours the weeks

          of January 31, 2016, February 6, 2016, May 7, 2016 and May 14, 2016. Defendants paid

          Plaintiff Wellington straight time for those overtime hours that were properly compensated at a

          premium rate.

                 216.     Plaintiffs cannot, without access to the Defendants’ time records, precisely

          determine which weeks they worked overtime without overtime pay, and request leave of the

          Court to amend this Complaint so as to provide specifics once such records become available.

          UNEQUAL PAY

                 217.     Defendants MABSTOA and MTAHQ have employees who do substantially

          similar work, in the same titles, on the same projects as well as projects that may relate to their

          agency or another MTA subsidiary agency including the Defendant NYC Transit Authority


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          (“NYCTA”). At various times over the last 15 to 20 years, Defendant MTA has assigned

          employees in the same job titles and/or performing substantially the same work to Defendant

          MABSTOA payroll or to Defendant MTAHQ payroll for various reasons and paid those

          employees a lower salary than Defendant NYCTA employees with the same or similar title doing

          substantially the same work.

                 218.    As part of this process, Defendants have hired employees with the same or similar

          job titles, who do substantially the same work, utilizing the same job postings, listing different

          minimum and maximum pay rates for employees doing exactly the same jobs in the same titles

          depending on which MTA subsidiary they are assigned to. See, for example, the job postings

          annexed as Exhibit B. Employees hired in response to these job postings have also been hired

          into MTAHQ, given the responsibilities also done by NYCTA and MABSTOA employees, paid

          at the MABSTOA rate, and have been denied the right to participate in any pension plan.

                 219.    Set forth below is a chart of the minimum and maximum pay rates, as of

          December 1, 2017, of employees in Plaintiffs’ job titles, which compares to the pay rate of

          similarly situated employees in NYCTA and MABSTOA who do substantially the same work.

                     Job Title                            TA Min      TA Max      OA Min      OA Max
                     Staff Analyst Trainee I              $ 46,171    $ 48,938    $ 43,474    $ 46,082
                     Staff Analyst Trainee II             $ 49,864    $ 55,406    $ 46,955    $ 52,170
                     Staff Analyst I                      $ 58,934    $ 69,771    $ 55,493    $ 65,696
                     Staff Analyst II                     $ 68,430    $ 76,213    $ 64,433    $ 71,762
                     Assoc Staff Analyst                  $ 77,356    $100,155    $ 72,835    $ 94,307
                     Assistant Transit Man.t Analyst I    $ 56,603    $ 67,010    $ 56,603    $ 67,010
                     Assistant Transit Man. Analyst II    $ 65,722    $ 73,197    $ 65,722    $ 73,197
                     Assoc. Transit Man. Analyst III      $ 74,292    $ 96,193    $ 74,292    $ 96,193
                     Computer Aide I                      $ 43,881    $ 49,394    $ 43,162    $ 48,583
                     Computer Associate (SW) 1            $ 71,294    $ 85,943    $ 70,123    $ 84,533
                     Computer Associate (SW) 2            $ 76,764    $ 92,908    $ 75,504    $ 91,381
                     Computer Associate (SW) 3            $ 81,986    $104,364    $ 80,641    $102,652
                     Computer Associate (TS) I            $ 55,582    $ 70,375    $ 53,690    $ 67,979


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                     Job Title                            TA Min      TA Max     OA Min      OA Max
                     Computer Associate (TS) II           $ 66,676    $ 85,174   $ 64,407    $ 82,275
                     Computer Associate (TS) III          $ 79,570    $106,270   $ 76,864    $102,652
                     Computer Associate (Op) I            $ 54,846    $ 69,413   $ 53,946    $ 68,352
                     Computer Associate (Op) II           $ 65,806    $ 85,529   $ 64,726    $ 83,858
                     Computer Associate (Op) III          $ 78,532    $104,364   $ 77,244    $102,652
                     Computer Specialist (SW) 1           $ 89,722    $ 97,295   $ 86,288    $ 93,520
                     Computer Specialist (SW) 2           $ 93,524    $104,770   $ 89,894    $100,704
                     Computer Specialist (SW) 3           $100,997    $113,940   $ 97,076    $109,517
                     Computer Specialist (SW) 4           $108,344    $130,458   $104,139    $125,396
                     Computer Specialist (Op) 1           $ 89,722    $ 97,295   $ 86,288    $ 93,520
                     Computer Specialist (Op) 2           $ 93,524    $104,770   $ 89,894    $100,704
                     Computer Specialist (Op) 3           $100,997    $113,940   $ 97,076    $109,517
                     Computer Specialist (Op) 4           $108,344    $130,458   $104,139    $125,396
                     Assoc. Transit Cust. Srv. Spec. II   $ 70,486    $ 87,823   $ 59,230    $ 76,827
                     Telecom Assoc I (Voice)              $ 47,540    $ 71,859   $ 45,694    $ 69,070
                     Telecom Assoc II (Voice)             $ 66,334    $ 86,232   $ 63,759    $ 82,884
                     Telecom Assoc III (Voice)            $ 71,287    $ 86,232   $ 68,520    $ 82,884

          As is apparent, the employees hired into NYCTA make about 5% per year more than similarly

          situated employees in MABSTOA.

                 220.   In addition, Defendants have moved employees from Defendant NYCTA payroll

          to Defendant MABSTOA payroll or Defendant MTAHQ payroll into a commensurate title and

          without changing the work assigned to the employee.

                 221.   There is no rational basis, related to a legitimate governmental basis, for assigning

          Plaintiffs and the class they represent to Defendant MABSTOA as their employer when they

          have the same or similar titles and do substantially similar work to comparable employees

          assigned to NYCTA.

                 222.   There is no rational basis, related to a legitimate governmental basis, for

          transferring Plaintiffs and the class they represent to Defendant MABSTOA as their employer




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          when they have the same or similar titles and do substantially similar work to comparable

          employees assigned to NYCTA.

                 223.    There is no rational basis, related to a legitimate governmental interest for paying

          Plaintiffs, and the class they represent, lesser compensation than Defendants pay to other

          employees performing the same duties in the same locality who work for the NYCTA. They are

          paid less because they work as MABSTOA and MTAHQ employees, and not NYCTA

          employees. The rationale for this classification rests on a ground or grounds wholly irrelevant to

          the achievement of a valid governmental objective and treats persons similarly situated

          differently under the law, simply because of which MTA subsidiary they work for.

                                   AS AND FOR A FIRST CAUSE OF ACTION

                          FAILURE TO COMPLY WITH THE REQUIREMENT OF
                          THE FAIR LABOR STANDARDS ACT THAT OVERTIME
                          BE PAID AT THE RATE OF ONE AND ONE-HALF TIMES
                            THE PLAINTIFF’S REGULAR RATES OF PAY AND
                         INSTEAD COMPENSATING PLAINTIFF WITH STRAIGHT
                           TIME FOR HOURS WORKED IN EXCESS OF FORTY

                                         (FLSA Overtime Collective Action)

                 224.    Plaintiffs hereby incorporate by reference paragraphs 1 through 223 above in their

          entirety and restate them herein.

                 225.    During the times that Plaintiffs seeking to represent the class, and others similarly

          situated have worked in excess of 40 hours in a week, Defendants have compensated work time

          at only the straight time rate. Some plaintiffs began to receive overtime pay in 2017 or 2018 as a

          result of collective bargaining carried out by their union.

                 226.    Section 7(a) of the Fair Labor Standards Act (FLSA), 29 U.S.C. § 207(a)(1),

          provides that employees shall be paid overtime compensation at a rate of not less than one and




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          one-half times their regular rate of pay for all hours worked in excess of forty (40) hours per

          work week.

                 227.    Defendants have violated, and at least with respect to some Plaintiffs and some

          class members, continue to violate 29 U.S.C. § 207(a)(1), by failing and refusing to compensate

          Plaintiffs and other similarly situated employees at a rate of not less than one and one-half times

          the regular rate at which the Plaintiffs and those similarly situated are employed in workweeks in

          which Plaintiffs and those similarly situated work forty (40) or more hours per week.

                 228.    Defendants’ violations of the FLSA have been done in a willful and bad-faith

          manner.

                 229.    As a result of the Defendants’ willful and purposeful violations of the FLSA,

          there has become due and owing to the Plaintiffs, and those similarly situated, an amount that has

          not yet been precisely determined. The employment and work records for the Plaintiffs are in

          the exclusive possession, custody, and control of Defendants and the Plaintiffs are unable to state

          at this time the exact amount owing to them, but from these payroll records, Plaintiffs will be

          able to ascertain the precise extent of these violations of section 7(a) of the FLSA, 29 U.S.C.

          § 207(a). Defendants are under a duty imposed under the FLSA, 29 U.S.C. § 211(c), and various

          other statutory and regulatory provisions, to maintain and preserve payroll and other employment

          records with respect to the Plaintiffs and other employees similarly situated from which the

          amount of Defendants’ liability can be ascertained.

                 230.    Pursuant to 29 U.S.C. § 216(b), Plaintiffs are entitled to recover liquidated

          damages in an amount equal to their backpay damages for the Defendants’ failure to pay

          overtime compensation.




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                 231.    Plaintiffs are entitled to recover attorneys’ fees and costs under 29 U.S.C.

          § 216(b).

                                 AS AND FOR A SECOND CAUSE OF ACTION

                         UNEQUAL PAYMENT OF WAGES FOR SUBSTANTIALLY
                            THE SAME WORK TO A CLASS OF EMPLOYEES
                         WITHOUT A LEGITIMATE GOVERNMENTAL PURPOSE

                         (Fourteenth Amendment Equal Protection Clause Class Action)

                 232.    Plaintiffs hereby incorporate by reference paragraphs 1 through 231 above in their

          entirety, and restate them herein.

                 233.    Plaintiffs received a lesser rate of pay because they work for MABSTOA or

          MTAHQ rather than for NYCTA, even though all of said agencies are subsidiaries of the MTA

          and employees in Plaintiffs’ positions in the three agencies perform substantially the same work.

                 234.    The aforedescribed unequal compensation scheme serves no legitimate

          governmental purpose and therefore violates the Fourteenth Amendment Equal Protection Clause

          of the United States Constitution.

                 235.    As a consequence of this scheme, Defendants are liable to Plaintiffs and their class

          in a sum equal to the difference in pay between their pay rate and the pay rate of an employee with

          an equivalent title and/or job responsibilities in NYCTA over the six years prior to the filing of the

          Federal Complaint.

                                  AS AND FOR A THIRD CAUSE OF ACTION

                         UNEQUAL PAYMENT OF WAGES FOR SUBSTANTIALLY
                             THE SAME WORK WITHOUT A LEGITIMATE
                                   GOVERNMENTAL PURPOSE

                             (N.Y. State Constitution Equal Protection Class Action)

                 236.    Plaintiffs hereby incorporate by reference paragraphs 1 through 235 above in their

          entirety, and restate them herein.


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                    237.   Plaintiffs received a lesser rate of pay because they work for MABSTOA or

          MTAHQ rather than for NYCTA, even though all of said agencies are subsidiaries of the MTA

          and employees in Plaintiffs’ positions in the three agencies perform substantially the same work.

                    238.   The aforedescribed compensation scheme serves no legitimate governmental

          purpose and therefore violates the Equal Protection Clause of the New York State Constitution.

                    239.   As a consequence of this scheme, Defendants are liable to Plaintiffs and their

          class in a sum equal to the difference in pay between their pay rate and the pay rate of an

          employee with an equivalent title and/or job responsibilities in NYCTA over the six years prior

          to the filing of the Federal Action.

                                                    TRIAL BY JURY

                    240.   Plaintiffs request a trial by jury on all claims asserted herein.

                                                 PRAYER FOR RELIEF

                    WHEREFORE, Plaintiffs request that this Court:

                    A.     Certify Plaintiffs as representatives of a class of persons similarly situated for

          litigation of the Federal Equal Protection/Fourteenth Amendment and State Constitutional

          claims;

                    B.     Enter such orders as are necessary to certify this case as a collective action under

          the Fair Labor Standards Act;

                    C.     Order Defendants to make a complete accounting to Plaintiffs of the hours that

          they worked on a weekly basis and of all payments Plaintiffs received in compensation for the

          six-year period preceding the commencement of this action, and the sums paid to NYCTA

          employees with the same titles and/or job responsibilities;

                    D.     Order Defendants to pay to Plaintiffs all unpaid wages due and owing because of

          Defendants’ failure to compensate Plaintiffs at a rate of time and one-half their regular rate of for


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          each hour worked in excess of 40 during each workweek for the three years prior to the filing of

          the Federal Complaint;

                  E.      Order Defendants to pay liquidated damages pursuant to the FLSA, 29 U.S.C.

          § 216(b), and any other applicable statute, rule, or regulation;

                  F.      Order Defendants to pay Plaintiffs the difference between the wages they were

          paid and the wages paid to employees of the New York City Transit Authority with the same job

          titles and/or the same job responsibilities for the six years prior to the filing of this action

          including appropriate hourly rates for straight time and overtime;

                  G.      Order Defendants to pay Plaintiffs’ reasonable attorneys’ fees, costs, and

          applicable prejudgment interest; and

                  H.      Grant Plaintiffs such other and further relief as the Court deems proper and just.

          Dated: New York, New York
                 May 4, 2021


                                                                  ADVOCATES FOR JUSTICE
                                                                  CHARTERED ATTORNEYS
                                                                  Attorneys for Plaintiffs


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                                                  VERIFICATION

                 LAINE ALIDA ARMSTRONG, an attorney at law duly admitted to the Bar of the State

          of New York, deposes and says: I am counsel to Plaintiffs. I have read the Complaint, and the

          same is true to my knowledge, information, and belief. My knowledge is gained from interviews

          with the Plaintiffs and review of records provided by the Plaintiffs.

          Dated: May 4, 2021

                                                                /s/ Laine Alida Armstrong
                                                                Laine Alida Armstrong




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